       Case 2:20-cv-00966-NR Document 149-3 Filed 07/22/20 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TRUMP FOR PRESIDENT, INC., et al.,            :
                       Plaintiffs             :            No. 2:20-CV-0966-NR
                                              :
             v.                               :
                                              :            Complaint Filed 6/29/20
KATHY BOOCKVAR, in her capacity as            :
Secretary of the Commonwealth of              :
Pennsylvania, et al.,                         :
                          Defendants          :

                                     ORDER

      AND NOW, to-wit, this __________ day of July, 2020, upon consideration

of the foregoing Motion for Admission Pro Hac Vice of Thomas M. Caffrey it is

hereby ORDERED that this motion is GRANTED.

      AS SUCH, Thomas M. Caffrey, Solicitor of the County of Lehigh, is hereby

admitted to practice in the United States District Court for the Western District of

Pennsylvania in conjunction with the above-captioned case on behalf of Defendant,

Lehigh County Board of Elections.

                                              BY THE COURT:


                                              /s/ J. Nicholas Ranjan
                                              United States District Judge
